                      UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                              NORTHERN DIVISION

 IN RE:                                        )       BANKRUPTCY CASE NO.
                                               )
 MDM HOLDINGS, INC.,                           )              19-82531
                                               )
            DEBTOR.                            )           CHAPTER 11


            STATEMENT OF POSTION REGARDING CONFIRMATION OF
             DEBTOR’S FIRST AMENDED PLAN OF REORGANIZATION

       COMES NOW J. Thomas Corbett, United States Bankruptcy Administrator for the

Northern District of Alabama (the “BA”), by and through the undersigned counsel of record, and

hereby states that the BA has no objection to confirmation of the Debtor’s First Amended Plan of

Reorganization (Doc. # 115).

       Respectfully submitted this the 16th day of March, 2020.



                                                   /s/ Robert J. Landry, III
                                                   Assistant U.S. Bankruptcy Administrator
                                                   Bar ID No. ASB-3091-L55R
                                                   Robert_Landry@alnba.uscourts.gov

OF COUNSEL:
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                                    CERTIFICATE OF SERVICE

I hereby certify that on the 16th day of March, 2020, I have served a copy of the foregoing via
email on the parties listed below:

Tazewell Shepard
Tazewell Taylor Shepard, IV
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                                                     /s/ Robert J. Landry, III




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